
686 S.E.2d 898 (2009)
STATE of North Carolina
v.
Jhonson LOUIS.
No. 394A09.
Supreme Court of North Carolina.
November 5, 2009.
Linda B. Weisel, Raleigh, for Jhonson Louis.
*899 John F. Oates, Jr., Assistant Attorney General, for State.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant-Appellant on the 23rd of September 2009 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 5th of November 2009."
